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                                                                                     Exhibit A


 DISTRICT COURT, COUNTY OF BROOMFIELD,
 STATE OF COLORADO
                                                          DATJ&FILED: August 20, 2021 2:28 PM
 Broomfield Combined Court                                FILil' G ID: B2808E06DD3C9
                                                          CASI ~ NUMBER: 2021CV30387
 17 Descombes Drive
 Broomfield, CO 80020

 Plaintiff: BECKY J. CLARK                                          •COURT USE ONLY•

 vs.

 Defendant: OMNI INTERLOCKEN CO., L.L.C.; a
 foreign corporation                                            Case Number:

Attorney for Plaintiff:
Michael A. Zimmerman, #47432                                    Div.:           Ctim.:
Hull & Zimmerman, P.C.
11178 Huron St., Ste 2
Northglenn, CO 80234
e-mail: alex@hzinjurylaw.com
Phone Number: 303-423-1770
Fax Number: 303-423-2102

                            COMPLAINT AND JURY DEMAND


      Plaintiff, above-named, by and through her attorneys Hull and Zimmerman P.C. for
Complaint against the Defendant alleges and avers as follows:

       1.    At all relevant times herein, Plaintiff Becky J. Clark (hereinafter "Plaintiff') has
             been a resident of the State of California.

       2.    Upon information and belief, Defendant Omni Interlocken Co, LLC. (hereinafter
             "Defendant") is a foreign corporation, incorporated in the State of Delaware and
             conducting business in the State of Colorado.

       3.    Upon information and belief, Defendant owns and operates the Omni Interlocken
             Hotel located at 500 Interlocken Boulevard, Broomfield, Colorado 80021.

       4.    On or about September 7, 2019, Plaintiff was on the premises of the Omni
             Interlocken Hotel and was walking towards the entrance of the hotel.

       5.    Plaintiff intended check-in for a reservation she made at the hotel.

       6.    The Omni lnterlocken Hotel placed a large walk-off mat/rug in front ofthe entrance
             to the Hotel.
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       7.      The large walk-off mat/rug was not tacked down to the ground or otherwise
               secured.

       8.     As Plaintiff was entering the hotel, a gust of wind blew the large walk-off mat/rug
              from the ground.

       9.      The large walk-off mat/rug struck Plaintiff on the side of the head causing her to
               fall.

       l 0.   As a result of the fall, Plaintiff suffered injuries and incurred medical expenses.

       10.     Plaintiff was present on Defendant's premises for the purposes of transacting
               business in which both Plaintiff and Defendant were interested.

       11.    Plaintiff was present on Defendant's premises at Defendant's expressed or implied
              representation that the public was expected or intended to enter such store.

       12.     Plaintiff constitutes an "invitee" as contemplated by C.R.S. § 13-21-115.

       13.     Defendant was the entity responsible for maintaining the premises of its' hotel.

       14.     Defendant was the entity in possession of the Omni Interlocken Hotel in
               Broomfield, Colorado.

       15.     Defendant is a "landowner" as contemplated by C.R.S. § 13-21-115.

       16.     Defendant's hotel is in a location that experiences frequent gusts of wind.

       17.    Defendant knew or should have known that a gust of wind would blow the large
              walk-off mat/rug from its position at the entrance of the hotel.

       18.     Defendant failed to exercise reasonable care to mitigate or remove the unreasonably
               dangerous condition of an improperly secured large walk-off mat/rug at the
               entrance of the hotel.

       19.    As a direct and proximate result of the failures of Defendant in this regard, Plaintiff
              suffered injuries and harms.

       20.    Plaintiff is entitled to compensation for the injuries and harm suffered as a result of
              the actions of Defendant in this regard.


        Wherefore, Plaintiff prays that this Honorable Court will grant judgment in her favor, and
against the Defendant, in an amount to be determined by the trier of fact, plus pre-judgment and
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post-judgment interest as provided by law, costs, and for such other and further relief as this Court
deems just and proper in the premises.
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                                                                                        Exhibit A



                                       JURY DEMAND


                Plaintiff hereby demands a jury trial of six (6) on all issues so triable.


   Respectfully submitted this 20th day of August 2020.


                                                     Hull & Zimmerman, P.C.
                                                     Original signature on file at the office
                                                     ofHull & Zimmerman, P. C.


                                                     Isl Michael A. Zimmerman
                                                     Michael P. Zimmerman, #47432
                                                     Attorneys for Plaintiff
                                                     11178 Huron Street, Unit 2
                                                     Northglenn, CO 80234
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Plaintiff's address:
3354 Corinna Drive
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